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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


Rondevoo Technologies, LLC,                              Case No. 1:18-cv-06212

               Plaintiff,                                Patent Case


               v.                                        Jury Trial Demanded

ZTE (USA) Inc.,


               Defendant.




               JOINT REPORT OF THE PARTIES’ PLANNING MEETING

   1. The following persons participated in a Rule 26(f) conference on October 18, 2018 by
      telephone:

        Kenneth Matuszewski, representing the Plaintiff
        Keana Taylor, representing the Defendant.

   2.    Initial Disclosures. The parties will serve initial disclosures as required by Rule 26(a)(1)
        on or before December 21, 2018.

   3.    Disclosures and Discovery Pursuant to Local Patent Rules. The parties acknowledge
        that the requirements of the Local Patent Rules apply to this case.

   4. Additional Discovery Plan. The parties propose the following in addition to the
      discovery plan and schedules addressed in the Local Patent Rules:

   (a) The parties agree that the maximum number of interrogatories will be 25 per side, and the
       answers will be due 30 days after being served with the interrogatories.

   (b) The parties agree that the maximum number of requests for production will be 25 per
       side, and the answers will be due 30 days after being served with the interrogatories.

        The Parties agree that nothing in this section prohibits a party or non-party from objecting
        to or moving to quash or modify any particular discovery request or subpoena it receives,
        or from seeking a protective order from the Court, on any appropriate ground. In
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   addition, for good cause shown, any party may seek relief from the Court from the
   limitations set forth under this Section.

(c) Plaintiff’s Proposal: The maximum number of factual depositions will be 7 per side and
    broken down as follows: 1) Expert depositions: 3 depositions; 2) Inventor depositions: 1
    deposition; 3) Fact witnesses: 3 depositions.

   Defendant’s Proposal: The maximum number of expert and fact depositions currently
   contemplated by the parties is approximately 7 per side, exclusive of third party
   depositions, broken down as follows:
          1)      Expert depositions: 1 deposition per expert and per expert report. The
          parties currently estimate 3 expert depositions per side (1 invalidity expert, 1
          damages expert, and 1 noninfringement expert). Thus, if an expert submits an
          opening expert report and subsequently submits a rebuttal expert report, that
          expert may be deposed twice.
          2)      Inventor depositions: 1 deposition (1 named inventor);
          3)      30(b)(6) fact witnesses of the parties: up to 3 depositions; and
          4)      Third Party witnesses: unlimited

   The Parties agree that nothing in this section prohibits a party or non-party from objecting
   to or moving to quash or modify any particular deposition notice or subpoena it receives,
   or from seeking a protective order from the Court, on any appropriate ground. In
   addition, for good cause shown, any party may seek relief from the Court from the
   limitations set forth under this Section.

(d) Plaintiff’s Proposal: Maximum length of factual depositions will be broken down as
    follows: 1) Expert depositions, 6 hours each, 18 hours total; 2) Inventor depositions, 1
    total and for 3 hours total; 3) Fact witnesses: 3 hours each, for a total of 9 hours.
    Maximum total length will be 30 hours.

(e) Defendant’s Proposal: The maximum length of expert and fact depositions currently
    contemplated by the parties is broken down as follows:
        1) Expert depositions: Each expert witness shall not be deposed for more than 7 hours
    per day absent agreement by the parties and the witnesses. Expert depositions will be
    presumptively limited to 7 hours per witness per report. To the extent an expert report on
    liability is voluminous in subject matter, the parties shall meet and confer to determine
    whether more than one day of deposition is appropriate.
        2) Inventor depositions: A maximum of 10 hours of deposition time for the single
    named inventor. The 10 hours must be split on consecutive days, if practicable, unless the
    witness’s schedule requires non-consecutive days.
        3) 30(b)(6) fact witnesses: A maximum of seven hours per witness.
        4) Third Party witnesses: unlimited hours. Defendant currently contemplates
    deposing at least potential prior art witnesses and the prosecuting attorney(s) for the
    patent-in-suit. Each deposition shall be limited to seven hours per day and ten hours per
    witness.
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       (e) Discovery is permitted with respect to claims of willful infringement and defenses of
       patent invalidity or unenforceability not pleaded by a party, where the evidence needed to
       support these claims or defenses is in whole or in part in the hands of another party.


5. Other Dates:
(a) The deadline for supplementations will be due by:
(b) The date the parties will ask to meet with the court before the scheduling order will be:
Plaintiff’s Proposal: November 13, 2018

Defendant’s Proposal: Defendant does not believe that it is necessary to meet with the Court
before the Court’s entry of a scheduling order.

[Alternative language]: Defendant believes November 6, 2018, the date currently set by the
Court (Dkt. No. 17), is the best date to meet with the Court prior to its entry of the scheduling
order for this case.

(c) Requested dates for pretrial conferences include: September 18, 2019; December 10, 2019;
November 19, 2020
(d) Final dates for the plaintiff to amend the pleadings or join parties: March 19, 2020
(e) Final dates for the defendant to amend the pleadings or join parties: April 3, 2020
(f) Final dates for submitting Rule 26(a)(3) witness lists, designations of witnesses whose
testimony will be presented by deposition, and exhibit lists: October 29, 2020
(g) Final dates to file objections under Rule 26(a)(3): November 12, 2020

7. Other Items:
(a) Currently, there are no prospects for settling the case.
(b) There are no alternative dispute resolutions that may enhance settlement prospects.
(c) Anything shown or told to a testifying expert relating to the issues on which he/she opines, or
to the basis or grounds in support of or countering the opinion, is subject to discovery by the
opposing party. (d) The parties agree that drafts of expert reports [will/will not] be retained and
produced; [Plaintiff agrees that drafts will be retained and produced]

Defendant does not believe that drafts of expert reports should be retained, produced, or
otherwise subject to discovery by the opposing party. Fed. R. Civ. P. 26(b)(4)(C) will apply to
expert discovery in this action. Discovery of expert materials shall be limited to final expert
reports and materials considered in connection with those reports; and communications with
counsel, draft reports, and draft declarations or affidavits shall not be discoverable.

(e) In responding to discovery requests, each party shall construe broadly terms of art used in the
patent field (e.g., “prior art”, “best mode”, “on sale”), and read them as requesting discovery
relating to the issue as opposed to a particular definition of the term used. Compliance with this
provision is not satisfied by the respondent including a specific definition of the term in its
response and limiting the response to that definition.
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(f) The parties [agree/do not agree] the video “An Introduction to the Patent System” distributed
by the Federal Judicial Center, should be shown to the jurors in connection with its preliminary
jury instructions. [Plaintiff agrees to show the video to the Jurors]

Defendant does not currently agree to show the video to the Jurors but is willing to revisit this
issue on or before the deadline for the parties’ submissions of their final jury instructions.


Dated: 10/24/2018                     Respectfully submitted,


                                      /s/ Kenneth Matuszewski
                                      Counsel for Plaintiff

                                      KENNETH MATUSZEWSKI
                                      ISAAC RABICOFF
                                      RABICOFF LAW LLC
                                      73 W MONROE ST
                                      CHICAGO, IL 60603
                                      (708) 870-5803
                                      kenneth@rabilaw.com
                                      isaac@rabilaw.com

                                      /s/ Everett Upshaw
                                      Counsel for Defendant

                                      EVERETT UPSHAW
                                      UPSHAW PLLC
                                      1204 GANO ST
                                      DALLAS, TX 75215
                                      (972) 920-8000
                                      everettupshaw@upshawpllc.com

                                      JAMES RAY WOOD
                                      ZTE USA, INC.
                                      2425 N CENTRAL EXPRESSWAY
                                      RICHARDSON, TX 75080
                                      (972) 765-4081
                                      ray.wood@outlook.com

                                      CRAIG L. UHRICH
                                      UHRICH LAW FIRM, PA
                                      222 CENTER AVENUE
                                      OAKLEY, KS 67748
                                      (785) 671-1237
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                           craig.uhrich@gmail.com
